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Attorney for Plaintiff




                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                       EUGENE DIVISION


ELEAQIA MCCRAE,                                                    Case No. 6:20-cv-01489-MC

                         Plaintiffs,
                                                     FIRST AMENDED COMPLAINT
        v.                                           (Section 1983 – First Amendment, Fourth
                                                     Amendment, 42 USC § 1981, 42 USC § 1983,
CITY OF SALEM; MAYOR CHUCK
BENNETT; CITY MANAGER STEVE                          42 USC § 1985, Battery, Assault, IIED,
POWERS; POLICE CHIEF JERRY                           Negligence, and 28 USC § 2201, et seq.,
MOORE; OFFICER KEVIN RAMIREZ;                        Declaratory Relief)
and OFFICER ROBERT JOHNSTON; all
in their Official and Individual capacities;
                                                     DEMAND FOR JURY TRIAL
                   Defendants.



       Plaintiff alleges as follows:

                                       INTRODUCTION

                                                1.

       Pursuant to 42 USC § 1983, Plaintiff Elea McCrae alleges the deprivation of rights

guaranteed to her by the First and Fourth Amendments to the U.S. Constitution, and the right to

protest non-white citizens’ not having equal benefits of all laws enjoyed by white citizens

pursuant to 42 USC § 1981 and § 1985. Elea McCrae brings pendant state law claims for battery,
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assault, intentional infliction of emotional distress, and negligence. She seeks declaratory relief,

equitable relief, damages, and her attorney fees and litigation expenses/costs, including expert

witness fees and expenses.

                                  JURISDICTION AND VENUE

                                                 2.

          Federal Court jurisdiction exists under 28 USC § 1331 and 28 USC § 1343.

Supplemental jurisdiction arises under 28 USC § 1367 for all common law and state of Oregon

claims.

                                                 3.

          Venue is proper in the U.S. District Court of Oregon, Eugene Division because all acts

alleged herein occurred in Marion County, Oregon.

                                             PARTIES

                                                 4.

          At all material times, Plaintiff Eleaqia (“Elea”) McCrae was a resident of Washington

County, Oregon and was a scholarship student athlete at Mt. Hood Community College. She

graduated from West Salem High School.

                                                 5.

          The City of Salem (herein “City of Salem”) is a municipal corporation which was and is a

public body in Oregon and is responsible under law for the acts and omissions of its law

enforcement officers, agents, and other employees, including those whose conduct is at issue

herein.

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                                                 6.

       Defendant City Manager Steve Powers (herein “Defendant Powers”) is the City Manager

of the City of Salem, oversees the Salem Police Department (herein “SPD”) and is responsible

for the administration of the government of the City of Salem including implementing legislative

policy. At all times relevant herein, he was acting under color of state law and in the scope of his

employment with the City of Salem.

                                                 8.

       Defendant Police Chief Jerry Moore (herein “Defendant Moore”) was the Chief of the

Salem Police Department. Defendant Moore was and is responsible for hiring, training,

equipping, and providing leadership to Salem’s police force including emergency response.

Defendant Moore was the chief policy-maker for SPD. At all times relevant herein, he was

acting under color of state law and in the scope of his employment with the City of Salem.

                                                 9.

       Defendant Officer Kevin Ramirez (herein “Officer Ramirez”) is a sworn officer

employed by the Salem Police Department. Officer Ramirez responded to the demonstration on

May 31, 2020 in the City of Salem. At all times relevant herein, he was acting under color of

state law and in the scope of his employment with the City of Salem.

                                                10.

       Defendant Officer Robert Johnston (herein “Officer Johnston”) is a sworn officer

employed by the Salem Police Department. Officer Johnston responded to the demonstration on

May 31, 2020 in the City of Salem. At all times relevant herein, he was acting under color of

state law and in the scope of his employment with the City of Salem.




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                                   STATEMENT OF FACTS

                                                 11.

       This action arises out of the protests across the nation following the May 25, 2020 murder

of George Floyd by uniformed officers with the Minneapolis Police Department. For 8 minutes

and 46 seconds Minneapolis Police Officer Derek Chauvin knelt on George Floyd’s neck while

he cried out for help, protested that he could not breathe, and in his last moments cried out for his

“Mama” before dying. The events in Minneapolis, being within a very short time following the

deaths of Breonna Taylor by police officers executing a no-knock warrant, and Ahmaud Arbery

being shot to death by a white neighbor who was not arrested for 74 days after the murder,

brought out hundreds of thousands of people around the country to condemn the deaths of black

and brown men and women at the hands of law enforcement and vigilantes condoned by local

law enforcement. The police killed at least 229 black people since George Floyd’s murder. 1

                                                 12.

       The City of Salem purports that it “has adopted a Title VI Plan to ensure that the City is

in compliance with the provisions of Title VI of the Civil Rights Act of 1964. Title VI prohibits

discrimination on the basis of race, color, or national origin in programs or activities receiving

federal financial assistance.”

                                                 13.

       The purported mission of the Salem Police Department (herein “SPD”) is “dedicated to

keeping Salem safe by providing superior police service. As an agency, our vision is to be the

recognized leader of police practices through innovation, equipment, technology, and training in



       1
              https://www.newsweek.com/full-list-229-black-people-killed-police-since-george-floyds-
murder-1594477
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order to fight crime, enhance trust, and protect our community.” Each of SPD’s officers takes an

oath of office: “to the effect the person will support the Constitution and laws of the United

States, and of the State, and of the Charter and ordinances of the City, and will faithfully perform

the duties of such office.” Salem Revised Code, Sec. 2.475.

                                                14.

       Sometime on Saturday, May 30, 2020 Defendant City Manager Steve Powers determined

that emergency conditions existed within the City of Salem and declared and State of Emergency

and Emergency Order. Defendant Powers identified the emergency: “Unlawful conduct related

to the death of George Floyd have occurred throughout the United States, including Oregon. This

conduct includes rioting, looting, and destruction of public and private property.” Defendant

Powers identified the potential damage as: “The possibility of death and injury to persons and

destruction of public and private property.” As a result of these perceived threats within the City

of Salem, Defendant Powers imposed a curfew from:

       a.      8:00 p.m. Saturday, May 30, 2020 to 6:00 a.m. Sunday, May 31, 2020.

       b.      8:00 p.m. Sunday, May 31, 2020 to 6:00 a.m. Monday, June 1, 2020.

       c.      8:00 p.m. Monday, June 1, 2020 to 6:00 a.m. Tuesday, June 2, 2020.

These actions were purportedly taken by Defendant Powers pursuant to Salem Revised Code

(SRC) 2.670 and SRC 2.680(a) and (c).

                                                15.

       On Sunday May 31, 2020 Defendant Salem City Manager Steve Powers cancelled the

curfew after consulting with Defendant Police Chief Jerry Moore, who also saw no indication a

curfew was needed to maintain order.




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                                               16.

       On Sunday, May 31, 2020 Plaintiff Elea McCrae was in Salem with her family. She saw

reports of a protest happening at the Capital, which looked small and peaceful with people

standing holding signs and she decided to attend with her sister and a friend. Elea McCrae

arrived at the peaceful demonstration of solidarity at about 7:30 p.m. She stood on the sidewalk

as cars drove by honking in support. After a little bit of standing and chanting empowering

messages, the demonstrators began to march toward downtown Salem. Elea McCrae marched

with the demonstrators from the Oregon Capitol to the river front and then up the Center Street

bridge crossing the Willamette River.

                                               17.

       At about 9:00 p.m. the demonstrators marched back towards Salem’s city center. SPD

began directing the marching public by closing off roads and did not enforce Defendant City

Manager Power’s curfew. The march continued back to the capitol building where the

participants peacefully kneeled, exercised a moment of silence, and lay down to symbolize a

defenseless body. There was no rioting, looting, or destruction of public and private property.

                                               18.

       The marchers then got back up to resume marching taking a similar route as they did

earlier in the evening. The march was peaceful. There was no rioting, looting, or destruction of

public and private property. After nightfall, people unrelated to the peaceful march came in from

side streets, and from behind the march throwing objects into the crowd.

                                               19.

       The peaceful march came down Center Street NE heading toward Liberty Street NE

when SPD, in full militarized gear with its SWAT team and SPD’s six-wheeled Mine-Resistant

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Ambush Protected vehicle (aka “MRAP” or “Bearcat”). SPD obtained the Bearcat through the

Federal Defense Reutilization and Management Office, a program that authorizes the transfer of

surplus military equipment to law enforcement agencies. SPD’s officers, including Officer

Johnston, MRT Team, SWAT team, police vehicles, and its Bearcat were in place at Center and

Liberty Street NE blocking the march from proceeding down Center Street NE. There was no

rioting, looting, or destruction of public and private property.

                                                 20.

       Center Street between Liberty Street NE and High Street NE is a single block with the

multi-story Salem City Center Mall brick walls lining both sides of the street. There is no way

out of this urban canyon. Marchers in front were prevented from retreating due to the crowd

behind them.

                                                 21.

       The march stopped a half block away from the police line. Elea McCrae, her sister, and

some friends were at the front of the march. Elea McCrae had nothing in her hands and was not

carrying anything. When the march was stopped by SPD there was no rioting, looting, or

destruction of public and private property. There was no violence prior to the SPD show of

force. It was a peaceful assembly. The marchers, including Elea McCrae, linked arms, and

silently knelt in the street. The marchers and Elea McCrae then stood up.

                                                 22.

       The police then began blaring their sirens and advanced on the demonstrators. Elea

McCrae then began to turn around to leave and was shot at least twice. At least one bullet or

projectile struck her chest and one bullet or projectile struck her eye.




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                                               23.

       SPD Officer Johnston intentionally shot “stinger” rounds or “skip” rounds (rubber

projectiles) from his City of Salem Police Department issued 40mm Launcher at Black

demonstrators using deadly force in violation of SPD Policy.

                                               24.

       Upon being shot in the eye, Elea McCrae instinctively reacted by holding her eye, her

body bent over contracting in pain. She took a few steps, her vision was gone, her ears were

ringing. Now blinded in one eye and unable to see out of her other eye due to SPD’s use of tear

gas on the peaceful march, Elea McCrae stumbled, fell, and passed out.

                                               25.

       Elea McCrae awoke hearing commotion around her. She heard footsteps and the felt

someone touch her. She told the person “I can’t see” and in response was told by a male voice

“that’s what you fucking get.” Elea McCrae became afraid for her safety. She then heard

another voice which identified himself by saying, “this is the Salem Police, can you stand?” She

is helped up by the officer, and Elea McCrae can now see him and two other SPD officers

circling about her through her good eye. Elea McCrae begins crying from fear and pleads,

“please, i don’t want to talk to you.” One of the Salem PD officers responds and states “talk or

get arrested.”

                                               26.

       SPD Officer Ramirez directs Elea McCrae over to a brick building. She holds up her

hands showing that she has no weapons and means no harm and moves toward the building as

directed. SPD Officer Ramirez asks about her injuries.




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                                                27.

       Elea McCrae hears Officer Ramirez ask his colleague, an SPD medic, to come look at

her. The colleague approaches, pauses for a few seconds, and walks away,

                                                28.

       Elea McCrae begs Office Ramirez to allow her to leave and find her family. Officer

Ramirez does not let her leave. A non-SPD EMT then walks up and an ambulance pulls up and

the EMT asks Elea McCrae to come into the ambulance so he can look at her eye. Immediately

upon looking at her eye, they transport Elea McCrae to the hospital emergency room.

                                                29.

       Elea McCrae was diagnosed with an eye injury which was subsequently diagnosed with

retinal hemorrhage, macular hole, commotio retinae of right eye and vitreous hemorrhage.

Surgery is required to repair the damage to her eye and she now has permanent vision loss.

                                                30.

       When Elea McCrae got home from the emergency room, she laid in intense pain leading

to nausea, and intense vomiting. The next day Elea McCrae noticed another extremely painful

bruise on her chest which was left from another rubber bullet that hit her.

                                 MUNICIPAL ALLEGATIONS

                                                31.

       Defendants created a policy of declaring an emergency when there was no rioting,

looting, or destruction of private or public property to justify the suppression of free speech and

assembly.



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                                                32.

       Defendants created a policy to kettle (also known as containment or corralling)

demonstrators in an area leaving them no viable exit while ordering them to leave the area.

Then, Defendants deploy tear gas, baton rounds, stinger or skip rounds, pepperballs, and other

munitions when the demonstrators cannot leave. These tactics make it more difficult for law-

abiding protesters to comply with police officers’ dispersal orders.

                                                33.

       Defendants created a policy or practice to provide unclear and confusing dispersal

messages which do not reduce the concentration of persons in the area.

                                                34.

       Defendants created a policy or practice that uses a random, uncontrolled, and dangerous

application of non-lethal technology that causes panic and incites counter-violence in the crowd.

Defendant Moore failed to adequately train SPD employees to respond to civil disturbances.

                                                35.

       Defendants have a custom or policy of using munitions and indiscriminate force without

probable cause against peaceful demonstrators while they are engaged in lawful conduct in the

exercise of their First Amendment Right to expression, speech, and assembly.

                                                36.

       Defendants have a custom, practice, or policy of using deadly force when using less-

lethal munitions against peaceful demonstrators.

                                                37.

       Defendants have a custom, practice, or policy of using deadly force when using less-

lethal munitions against demonstrators whose skin color is Black or Brown.

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                                                38.

       Defendants have a custom or policy of failing to provide warnings before using chemical

agents, less-lethal munitions, and injurious to deadly force against protesters.

                                                39.

       Defendants have a custom and/or policy of escalating and causing exigent circumstances

which they use to justify their unreasonable use of force.

                                                40.

       The customs and/or policies listed were the proximate cause of harm to Plaintiff.

                                 FIRST CLAIM FOR RELIEF

                               (42 USC § 1983 – First Amendment)
                      Against Defendants Powers, Moore, Ramirez, Johnston,
                                   In their individual capacities

                                                41.

       Plaintiff alleges and incorporates by reference paragraphs 4 through 40 above.

                                                42.

       Under the First Amendment to the U.S. Constitution, Elea McCrae enjoys the freedom of

speech and the right to peacefully assemble. On May 31, 2020 Elea McCrae was lawfully engaged

in the exercise of her First Amendment Rights of speech and lawful peaceful assembly.

                                                43.

       Defendants Powers, Moore, Ramirez, and Johnston were all state actors acting under the

color of state law.

                                                44.

       Defendants used excessive force against Elea McCrae by shooting her in the eye and chest

for no reason other than her in engaging in her right of free speech and lawful peaceful assembly

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as such rights are provided to citizens by the First Amendment to the U.S. Constitution.

                                               45.

        Defendants Powers, Moore, Ramirez, and Johnston’s actions would chill a reasonable

person from continuing to engage in constitutionally protected activity. Defendants’ acts did, in

fact, chill Elea McCrae from continuing to engage in public speech and peaceful assembly.

                                               46.

        Elea McCrae’s First Amendment rights were violated when she was shot for her speech

and peaceful assembly.

                                               47.

        Elea McCrae’s First Amendment rights were violated when SPD Officers detained her and

would not let her leave, and the SPD medic denied her medical care or assistance.

                                               48.

        As a direct and proximate result of Defendants Powers, Moore, Ramirez, and Johnston’s

unlawful acts, Elea McCrae has suffered physical injury (including permanent vision loss), pain

and suffering, anxiety, stress, outrage, betrayal, offense, indignity, loss of educational

opportunities, and economic damages in amounts to be determined by the jury at trial.

                                               49.

        Elea McCrae seeks equitable relief in the form of abolition of the policies and practices

described in paragraphs 31 through 40, training by experts in First Amendment, Civil

Disobedience, crowd de-escalation techniques, and other training that may be identified during the

course of litigation.



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                                               50.

        Pursuant to 42 USC § 1988, Elea McCrae is entitled to an award of her attorney fees and

costs incurred in this action.

                                               51.

       Elea McCrae is entitled to an award of punitive damages from Defendants to punish and

deter them and others from similar conduct in the future.

                                 SECOND CLAIM FOR RELIEF

                             (42 USC § 1983 – Fourth Amendment)
                    Against Defendants Powers, Moore, Ramirez, and Johnston
                                  In their individual capacities

                                               52.

       Plaintiff alleges and incorporates by reference paragraphs 4 through 51 above.

                                               53.

       Elea McCrae was seized by Defendants Powers, Moore, Ramirez, and Johnston when

Defendants intentionally through the use of physical force, shooting, and chemical agents

prevented her freedom of movement.

                                               54.

       Defendants committed these acts without warning or cause and, as a result, Defendants’

acts were objectively unreasonable and constituted unlawful seizure and excessive force.

                                               55.

       Elea McCrae’s Fourth Amendment rights were violated when she was deliberately targeted

and shot in the head causing injury to her eye and permanent loss of vision and chest.



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                                                 56.

        Elea McCrae reasonably fears retaliation and additional harm, pain, and suffering in the

future if she engages in or participates in constitutionally protected activity.

                                                 57.

        As a direct and proximate result of Defendants Powers, Moore, Ramirez, and Johnston’s

unlawful acts, Elea McCrae has suffered physical injury (including permanent vision loss), pain

and suffering, anxiety, stress, outrage, betrayal, offense, indignity, loss of educational

opportunities, and economic damages in amounts to be determined by the jury at trial.

                                                 58.

        Elea McCrae seeks equitable relief in the form of abolition of the policies and practices

described in paragraphs 31 through 40, training by experts in First Amendment, Civil

Disobedience, crowd de-escalation techniques, and other training that may be identified during the

course of litigation.

                                                 59.

        Pursuant to 42 USC § 1988, Elea McCrae is entitled to an award of her attorney fees and

costs incurred in this action.

                                                 60.

        Elea McCrae is entitled to an award of punitive damages from Defendants to punish and

deter them and others from similar conduct in the future.

                                 THIRD CLAIM FOR RELIEF

                                 (42 USC § 1983 – Monell Claims)
                                      Against City of Salem

                                                 61.

        Plaintiff alleges and incorporates by reference paragraphs 4 through 60 above.
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                                               62.

       Defendant City of Salem created or maintained policies, customs or practices as described

in paragraphs 32 through 41 above. These policies, customs or practices were created by officials

with final decision-making and/or policy-making authority.

                                               63.

       The individual agents of the City of Salem followed one or more of the customs or practices

as described in paragraphs 32 through 41 above.

                                               64.

       The policies, customs or practices as described in paragraphs 32 through 41 above were

unconstitutional or caused the violation of Plaintiff’s First and Fourth Amendment rights of the

U.S. Constitution.

                                               65.

       Defendant City of Salem failed to create adequate policies which would have prevented

the infringement of Plaintiff’s rights under the First and Fourth Amendments of the U.S.

Constitution during social justice demonstrations when the need to do so was obvious.

                                               66.

       The City of Salem also failed to adequately train their employees and agents with respect

to the legal requirements of the First and Fourth Amendments as they pertain to social justice

demonstrations when the need to do so was obvious.

                                               67.

       The pattern of similar constitutional violations against Elea McCrae that occurred during

the community mobilization against police brutality demonstrates the deliberate indifference of

the City of Salem to the rights of Elea McCrae.

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                                                 68.

        As a direct and proximate result of Defendant City of Salem’s unlawful acts, Elea McCrae

has suffered physical injury (including permanent vision loss), pain and suffering, anxiety, stress,

outrage, betrayal, offense, indignity, loss of educational opportunities, and economic damages in

amounts to be determined by the jury at trial.

                                                 69.

        Elea McCrae seeks equitable relief in the form of abolition of the policies and practices

described in paragraphs 31 through 40, training by experts in the First Amendment, Civil

Disobedience, the Fourth Amendment, and crowd de-escalation techniques.

                                                 70.

        Pursuant to 42 USC § 1988, Elea McCrae is entitled to an award of her attorney fees and

costs incurred in this action.

                                                 71.

       Elea McCrae is entitled to an award of punitive damages from Defendants to punish and

deter them and others from similar conduct in the future.

                                 FOURTH CLAIM FOR RELIEF

                                       (42 U.S.C. § 1981)
                    Against Defendants Powers, Moore, Ramirez, and Johnston
                                  In their individual capacities

                                                 72.

        Plaintiff alleges and incorporates by reference paragraphs 4 through 71 above.

                                                 73.

        Through their presence at the community-based movement and/or protests and

documentation thereof, Elea McCrae was asserting the rights of non-white citizens to the full and

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equal benefit of all laws and proceedings for the security of persons and property as are enjoyed

by white citizens.

                                                 74.

        As described herein, individual Defendants retaliated against Elea McCrae for asserting

the rights of non-white citizens to the full and equal benefit of all laws and proceedings for the

security of persons and property as are enjoyed by white citizens.

                                                 75.

        As a direct and proximate result of individual Defendants Powers, Moore, Ramirez, and

Johnston’s unlawful acts, Elea McCrae has suffered physical injury (including permanent vision

loss), pain and suffering, anxiety, stress, outrage, betrayal, offense, indignity, loss of educational

opportunities, and economic damages in amounts to be determined by the jury at trial.

                                                 76.

        Elea McCrae seeks equitable relief in the form of abolition of the policies and practices

described in paragraphs 31 through 40.

                                                 77.

        Pursuant to 42 USC § 1988, Elea McCrae is entitled to an award of her attorney fees and

costs incurred in this action.

                                                 78.

       Elea McCrae is entitled to an award of punitive damages from Defendants to punish and

deter them and others from similar conduct in the future.

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                                FIFTH CLAIM FOR RELIEF

                                            (Battery)
                           Against City of Salem, and Office Johnston

                                               79.

       Plaintiff alleges and incorporates by reference paragraphs 4 through 78 above.

                                               80.

       Defendant City of Salem, through its agents, and Officer Johnston intentionally engaged

in harmful or offensive contact with Elea McCrae, and were acting in the course and scope of their

employment.

                                               81.

       Defendant City of Salem is responsible for the tortious conduct of their agents and

employees including Officer Johnston, which caused injury to Elea McCrae.

                                               82.

       As a direct and proximate result of Defendant City of Salem’s and Office Johnston’s

unlawful acts, Elea McCrae has suffered physical injury (including permanent vision loss), pain

and suffering, anxiety, stress, outrage, betrayal, offense, indignity, loss of educational

opportunities, and economic damages in amounts to be determined by the jury at trial.

                                               83.

       Elea McCrae seeks equitable relief in the form of abolition of the policies and practices

described in paragraphs 31 through 40.

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                               SIXTH CLAIM FOR RELIEF

                                           (Assault)
                          Against City of Salem and Officer Johnston

                                              84.

       Plaintiff alleges and incorporates by reference paragraphs 4 through 83 above.

                                              85.

       Defendant City of Salem’s and Officer Johnston’s and use of excessive, unprovoked, and

unreasonable force to prevent Elea McCrae from exercising her constitutional rights was intended

to cause imminent harmful and offensive contact.

                                              86.

       Defendant City of Salem is responsible for the tortious conduct of their agents and

employees, which caused the injuries to Elea McCrae.

                                              87.

       Elea McCrae had reasonable apprehension and fear that the battery would occur.

                                              88.

       As a direct and proximate result of Defendant City of Salem’s and Officer Johnston’s

unlawful acts, Elea McCrae has suffered physical injury (including permanent vision loss), pain

and suffering, anxiety, stress, outrage, betrayal, offense, indignity, loss of educational

opportunities, and economic damages in amounts to be determined by the jury at trial.

                                              89.

       Elea McCrae seeks equitable relief in the form of abolition of the policies and practices

described in paragraphs 31 through 40.



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                                  SEVENTH CLAIM FOR RELIEF

                                             (IIED)
                           Against City of Salem and Officer Johnston

                                               90.

       Plaintiff alleges and incorporates by reference paragraphs 4 through 89 above.

                                               91.

       Defendant City of Salem is responsible for the tortious conduct of its agents and employees

including Officer Johnston, which caused the injuries to Elea McCrae.

                                               92.

       Plaintiff Elea McCrae suffered severe emotional distress as a result of Defendant City of

Salem’s and Defendant Officer Johnston’s intentional targeting and shooting of peaceful

demonstrators who are Black or Brown.

                                               93.

       Defendant City of Salem’s and Officer Johnston’s conduct of intentionally targeting and

shooting demonstrators who are Black or Brown is an extraordinary transgression of the bounds

of socially tolerable behavior.

                                               94.

       As a direct and proximate result of Defendant City of Salem’s and Office Johnston’s

unlawful acts, Elea McCrae has suffered physical injury (including permanent vision loss), pain

and suffering, anxiety, stress, outrage, betrayal, offense, indignity, loss of educational

opportunities, and economic damages in amounts to be determined by the jury at trial.

                                               95.

       Elea McCrae seeks equitable relief in the form of abolition of the policies and practices

described in paragraphs 31 through 40.
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                               EIGHTH CLAIM FOR RELIEF

                                          (Negligence)
                                      Against City of Salem

                                                96.

       Plaintiff alleges and incorporates by reference paragraphs 4 through 95 above.

                                                97.

       Defendants’ actions as alleged above violated the standard of care required of law

enforcement officers under the circumstances. Defendants, including Officer Johnston, breached

this standard of care by:

       a.      Using impact weapons, including stinger rounds, on peaceful demonstrators and

               not to overcome a violent person;

       b.      Using stinger rounds in a lethal manner;

       c.      Using stinger rounds on demonstrators who were non-violent;

       d.      Using stinger rounds on demonstrators who were not dangerous;

       e.      Using stinger rounds on demonstrators who were not resistive or combative;

       f.      Failing to document the use of stinger rounds with a use of force report including

               justification for use, other tools or resources used to resolve the situation, number

               of rounds fired, weapon number used, and final disposition of the subject;

       g.      Failing to save all impact rounds that are fired at and strike any person in a field

               use situation and processing the rounds as evidence.

                                                98.

       Defendants’ actions created an unreasonable and foreseeable risk of injury to Elea McCrae.



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                                                 99.

       Defendant City of Salem is responsible for the tortious conduct of its agents and employees,

which caused the injuries to Elea McCrae.

                                                 100.

       As a direct and proximate result of Defendant City of Salem’s unlawful acts, Elea McCrae

has suffered physical injury (including permanent vision loss), pain and suffering, anxiety, stress,

outrage, betrayal, offense, indignity, loss of educational opportunities, and economic damages in

amounts to be determined by the jury at trial.

                                                 101.

       Elea McCrae seeks equitable relief in the form of abolition of the policies and practices

described in paragraphs 31 through 40.

                                NINTH CLAIM FOR RELIEF

                         (Declaratory Judgment 28 USC § 2201, et seq.)

                                                 102.

       Plaintiff alleges and incorporates by reference paragraphs 4 through 102 above.

                                                 103.

       As described herein, Elea McCrae has established a violation of her First and Fourth

Amendment rights and request a declaration thereof.

                                                 104.

       Plaintiff requests that the City of Salem and its respective employees and officials take

immediate steps to adhere to the requirements of the First and Fourth Amendments to the U.S.

Constitution by effectuating the following:




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       a.      The City of Salem and its officials shall change and/or supplement any written

policy, official practice, or training they give to their employees, to ensure that those engaging in

political speech are treated fairly and with respect and are not discriminated against or retaliated

against because of their protected speech;

        b.      abolition of the policies and/or practices described in paragraphs 30 through 41;

and

       c.      training by experts in the First Amendment, Civil Disobedience, and in the Fourth

Amendment.

        d.      every member of the City of Salem’s Police Department assigned to the MRT or

SWAT team undertake at least 40 hours of specific training in peaceful crowd control techniques

(e.g. crowd control without using weapons, tear gas, or less-lethal munitions).

                                                105.

        As a direct and proximate result of Defendant City of Salem’s unlawful acts, Elea McCrae

has suffered physical injury (including permanent loss of vision), pain and suffering, anxiety,

stress, outrage, betrayal, offense, indignity, loss of educational opportunities, and economic

damages in amounts to be determined by the jury at trial.

                                                106.

        Pursuant to 42 USC § 1988, Elea McCrae is entitled to an award of her attorney fees and

costs incurred in this action.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

        1.      A judgment or order declaring that Defendants’ conduct violated the First and

Fourth Amendments of the U.S. Constitution;

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       2.      Damages compensating Elea McCrae for her injuries, including but not limited to

economic and non-economic damages;

       3.      Where applicable, an award of punitive damages consistent with the above claims

against Defendants in amounts to be determined at trial;

       4.      An award of attorneys’ fees and costs pursuant to 42 U.S.C. § 1988;

       5.      A judgment declaring that:

               a.     Defendants and their officials shall change and/or supplement any written

                      policy, official practice, or training they give to their employees, to ensure

                      that those engaging in political speech are treated fairly and with respect

                      and are not discriminated against or retaliated against because of their

                      protected speech;

               b.     Abolition of the policies and/or practices described in paragraphs 30

                      through 41;

               c.     Training by experts in the First Amendment, Civil Disobedience, the Fourth

                      Amendment, crowd de-escalation techniques, and any and all training that

                      may be identified during the course of this litigation; and

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             d.     Every current officer of the City of Salem’s Police Department and every

                    new officer assigned to the MRT or SWAT team undertake at least 40 hours

                    of specific training in peaceful crowd control techniques (e.g. crowd control

                    without using weapons, tear gas, or less-lethal munitions).

      6.     An award of such other and further relief as the Court deems equitable and just.



DATED this 28th day of May, 2021.

                                           THE BRAGUE LAW FIRM

                                           By /s/ Kevin C. Brague
                                                  Kevin C. Brague, OSB No. 050428
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                                                  Attorney for Plaintiff




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I served the foregoing FIRST AMENDED COMPLAINT on the
party listed below by the following indicated method or methods:

               Gerald L. Warren, OSB #814146
               gwarren@geraldwarrenlaw.com
               Law Office of Gerald L. Warren and Associates
               901 Capitol St. NE
               Salem, OR 97301
               T: (503) 480-7250
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               Jennifer M. Gaddis, OSB #071194
               jgaddis@cityofsalem.net
               Salem City Attorney’s Office
               555 Liberty Street SE, Ste. 205
               Salem, OR 97301
               T: (503) 588-6003
               F: (503) 361-2202
               Attorneys for Defendants

[X]   by electronic means through the U.S. District Court, District of Oregon’s CM/ECF
document filing system.

[]     by mailing a full, true and correct copy thereof in a sealed, first-class postage paid
envelope, addressed to the address as shown above, with the U.S. Postal Service at Portland,
Oregon, on the date set forth below.

[]      by causing a full, true, and correct copy thereof to be hand-delivered to the attorney at
the attorney’s last known office address listed above on the date set forth below.

[]     by faxing a full, true, and correct copy thereof to the attorney at the fax number shown
above, which is the last-known fax number for the attorney’s office, on the date set forth below.

                                              DATED this 28th day of May, 2021.

                                              /s/ Kevin Brague
                                              Kevin C. Brague, OSB No. 050428




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